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                       Elizabeth Sines, et al. v. Jason Kessler, et al.
                           Case No. 3:17-cv-00072-NKM-JCH




                     EXHIBIT 2643
            Plaintiffs’ Motion In Limine for the Court to Deem Authentic Certain
           Photographs and Videos Depicting Defendant Robert “Azzmador” Ray
7/3/2020   Case 3:17-cv-00072-NKM-JCH             Document
                          The Krypto Report – Episode            1149-4 Putsch
                                                      XXII: The Charlottesville Filed[UPDATE:
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       The Krypto Report – Episode XXII: The Charlottesville Putsch
       [UPDATE: RE-UPLOADED]
        Azzmador          August 14, 2017

       Azzmador
       Daily Stormer
       August 14, 2017




       UPDATE AUGUST 15, 2017:


       THE KRYPTO REPORT SOUNDCLOUD WAS SHOAHED BY THE EVIL KIKES.


       HERE IS THE BACKUP:

               00:01                                                                            02:42:08




       Download


       On this TRIUMPHANT episode of The Krypto Report, Your Friendly Neighborhood Azzmador discusses the
       entirety of the Return of Fascism!


       The #UniteTheRight rally, which he attended. Everything from the glorious torch march to the violent mess
       purposefully created by the Judeo-Negro city government. We have an all-star lineup, including:


       From Daily Stormer:


           Andrew Anglin

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7/3/2020   Case 3:17-cv-00072-NKM-JCH             Document
                          The Krypto Report – Episode            1149-4 Putsch
                                                      XXII: The Charlottesville Filed[UPDATE:
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           weev

           Zeiger

           Lee Rogers


       And a star-studded lineup of special guests, including:


           Christopher Cantwell

           Faith Goldy

           Johnny Monoxide

           Eli Mosley

           Chef Goyardee


       This was a live event held at a super-secret afterparty in a subterranean bunker deep beneath a Virginia
       Mountain.


       SPECIAL FEATURE: Azzmador gives a special message to the people at the event from Andrew Anglin, in
       lieu of his original plan to make it part of his speech from the rally microphone, and here it is for you, the

       listener!


       This is the greatest podcast in the history of podcasts, as is befitting the greatest event in the history of the

       Alt Right!

       HAIL VICTORY!


       Contribute to The Krypto Report via bitcoin – 1HdRweRho7KFhBmyQTcDyTvpEDNjYHGugH




       You can also contribute to TKR via Amazon gift card. Just go to amazon.com and buy a gift card, click

       the link to email the card and enter the email address azzmador@gmail.com.



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